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                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Elvis Belem,

      Plaintiff,

      V.                                     Civil Action File
                                             No.
3AC Restaurant, LLC,

                                             JURY TRIAL DEMANDED
      Defendant.

                                 COMPLAINT

      Plaintiff Elvis Belem (“Plaintiff”) files this Complaint and alleges that

Defendant 3AC Restaurant, LLC. violated the Fair Labor Standards Act (“FLSA”),

29 U.S.C. § 201, et seq., by failing to pay Plaintiff overtime wages for hours

worked in excess of forty hours per week.

                          NATURE OF THE ACTION

1.    Plaintiff alleges, pursuant to Section 216(b) of the FLSA, that he: (i) is

      entitled to unpaid wages from Defendant for overtime work for which he did

      not receive overtime premium pay as required by law; (ii) is entitled to

      liquidated damages pursuant to the FLSA and (iii) is entitled to attorneys’

      fees and costs of this action pursuant to the FLSA.
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                        JURISDICTION AND VENUE

2.   This Court has subject matter jurisdiction over FLSA claims pursuant to 28

     U.S.C. § 1331 and 29 U.S.C. § 216(b).

3.   Venue is proper in this Northern District of Georgia pursuant to 28 U.S.C.

     § 1391. All parties reside in this district and a substantial portion of the

     events giving rise to the claims herein occurred in this judicial district and

     division.

4.   Divisional venue is proper in the Atlanta Division under Local Rule

     3.1(B)(1)(a) because this is a civil action not of a local nature and Defendant

     resides in the Atlanta Division.

                                 THE PARTIES

5.   Plaintiff is a resident of Georgia.

6.   Defendant 3AC Restaurant, LLC, (“3AC”) is a Georgia corporation with its

     principal place of business located at 6017 Sandy Springs Circle, Atlanta,

     Fulton County, Georgia.

7.   3AC can be served through its registered agent Jonathan Akly at 6017 Sandy

     Springs Circle, Atlanta, Georgia.




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8.    3AC maintains and runs a restaurant at 3550 Lenox Road NE, Suite 550,

      Atlanta, Fulton County, Georgia, and does business there under the name

      Mission + Market (the “Restaurant”).

9.    At all relevant times, 3AC continuously has been an employer engaged in

      interstate commerce and/or the production of goods for commerce, within

      the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

10.   At all relevant times, 3AC has employees handling, selling, or otherwise

      working on goods or materials that have been moved in or produced for

      commerce by any person.

11.   At all relevant times, 3AC employed Plaintiff within the meaning of the

      FLSA, 29 U.S.C. §§ 201 et seq.

12.   At all relevant times, 3AC had annual gross volume of sales made or

      business done of over $500,000.

               FACTUAL BASIS OF PLAINTIFF’S CLAIMS

13.   Plaintiff re-alleges the foregoing paragraphs of the Complaint as if set forth

      herein verbatim.

14.   3AC hired Plaintiff in early 2018 to work as a cook at the Restaurant.

15.   In early 2020, 3AC gave Plaintiff the title of “sous chef” and began paying

      Plaintiff a weekly salary regardless of how many hours Plaintiff worked.


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16.   Although 3AC gave Plaintiff the title of “sous chef,” 3AC did not give

      Plaintiff the job responsibilities and duties of sous chef.

17.   Plaintiff’s primary job duty remained cooking and other menial kitchen

      work.

18.   In performing his job duties for 3AC, Plaintiff did not perform executive

      functions.

19.   In performing his job duties for 3AC, Plaintiff did not exercise any

      discretion or independent judgment with regard to matters of significance.

20.   Plaintiff’s job duties did not include primary work that requires knowledge

      of any advanced type in a field customarily acquired by prolonged,

      specialized, intellectual instruction or study.

21.   Plaintiff did not have the authority to hire or fire other employees and

      neither were his suggestions on hiring, firing, advancement, promotion, or

      any other change of status of other employees given particular weight

22.   Plaintiff’s work in the kitchen of the restaurant usually was done under the

      supervision of the Chef Ian Winslade (“the Chef”). The Chef, not Plaintiff,

      made hiring and firing decisions for the kitchen staff, and the Chef directed

      and managed the kitchen staff.




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23.   Plaintiff was a non-exempt employee under the FLSA whose primary job

      responsibilities included cooking and preparing food in the kitchen.

24.   Plaintiff worked in excess of 40 hours per week in the large majority of

      weeks that Plaintiff worked for 3AC.

25.   Plaintiff was paid a regular rate of pay but was not paid properly for

      overtime for those hours worked in excess of 40 hours per week. For those

      hours in excess of 40 hours per week, 3AC did not pay plaintiff one and one-

      half times his regular rate of pay as required by federal law.

26.   3AC paid Plaintiff a weekly salary regardless of the hours worked, but 3AC

      did not pay plaintiff one and one-half times his regular rate of pay for hours

      worked in excess of 40 per week, as required by federal law.

                         Work as Cook/Kitchen Helper

27.   In approximately March 2020, the Restaurant closed its dining room because

      of the COVID 19 pandemic.

28.   The Restaurant did not open the dinning room for approximately a three-

      month period, and during that time the Restaurant filled to go order only.

29.   During this period, the Restaurant operated on a very small staff that

      consisted only of two managers, the Chef, Plaintiff, and one other kitchen

      worker.


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30.   During this period, Plaintiff worked exclusively as a cook/kitchen helper,

      and his primary job duties still included cooking and food preparation but

      also included additional kitchen tasks, such as washing dishes and cleaning.

31.   Plaintiff continued to work in excess of 40 hours per week most weeks

      during this time period.

32.   During this three-month time period, Plaintiff remained a non-exempt

      employee under the FLSA whose primary job responsibilities included

      cooking, cleaning, and preparing food in the kitchen.

33.   During this three-month time period, 3AC paid Plaintiff a weekly salary

      regardless of the hours worked, but 3AC did not pay plaintiff one and one-

      half times his regular rate of pay for hours worked in excess of 40 per week,

      as required by federal law.

                                    COUNT I

      FAIR LABOR STANDARDS ACT VIOLATIONS – OVERTIME

34.   Plaintiff repeats and realleges each paragraph above as though it were fully

      set forth at length herein.

35.   At all relevant times, 3AC was an employer engaged in interstate commerce,

      within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).




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36.   At all relevant times, 3AC employed Plaintiff within the meaning of the

      FLSA.

37.   At all relevant times, 3AC maintained a uniform policy and practice of

      willfully refusing to pay Plaintiff appropriate overtime compensation for all

      hours that Plaintiff worked in excess of forty hours per work week.

38.   As a result of 3AC’s willful failure to compensate Plaintiff the applicable

      wage for all hours worked at a rate not less than one and one-half times the

      regular rate of pay for work performed in excess of forty hours per work

      week, 3AC violated the FLSA.

39.   3AC’s conduct constitutes a willful violation of the FLSA within the

      meaning of 29 U.S.C. § 255(a).

40.   Due to 3AC’s FLSA violations, Plaintiff is entitled to recover from 3AC

      compensation for unpaid overtime wages; an additional equal amount as

      liquidated damages; and reasonable attorneys' fees, costs, and disbursements

      of this action, pursuant to 29 U.S.C. § 216(b).

      WHEREFORE, Plaintiff demands a trial by jury and requests that this

Court grant the following relief against 3AC:

      A.      An award of unpaid compensation for overtime to Plaintiff;

      B.      An award of liquidated damages to Plaintiff;


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      C.      An award of prejudgment and post-judgment interest to Plaintiff;

      D.      An award of costs and expenses of this action together with

              reasonable attorneys’ and expert fees to Plaintiff; and

      E.      Such other and further relief as this Court deems just and proper.


                             JURY TRIAL DEMAND

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

demands a trial by jury on all questions of fact raised by this Complaint.


      This, 20th day of October 2021.

                                        Hall & Lampros, LLP

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